                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      No.:   2:11-CR-047
                                                )
WILLIAM J. ANDERSON                             )

                           MEMORANDUM AND ORDER

      This criminal case is before the court on the defendant’s motion for sentence

reduction [doc. 462]. Through counsel, the defendant asks the court to resentence him

pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendments 782 and 788 to

the United States Sentencing Guidelines Manual (“U.S.S.G.”). The government has

responded [doc. 471], deferring to the court’s discretion whether and to what extent to

grant any such reduction, subject to the limitations of 18 U.S.C. § 3582(c)(2) and

U.S.S.G. § 1B1.10.

I.    Authority

      “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

exceptions.” Freeman v. United States, 131 S. Ct. 2685, 2690 (2011) (internal citation

and quotation marks omitted).      One such exception is identified in 18 U.S.C. §

3582(c)(2):




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      [I]n the case of a defendant who has been sentenced to a term of
      imprisonment based on a sentencing range that has subsequently been
      lowered by the Sentencing Commission . . . , the court may reduce the term
      of imprisonment, after considering the factors set forth in [18 U.S.C.]
      section 3553(a) to the extent that they are applicable, if such a reduction is
      consistent with applicable policy statements issued by the Sentencing
      Commission.

If the court finds a defendant eligible for sentence reduction, “[t]he court may then

‘consider whether the authorized reduction is warranted, either in whole or in part,

according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d

946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

      In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the court must first identify “the amended guideline range that would have

been applicable to the defendant had the relevant amendment been in effect at the time of

the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and citation

omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1) (2014).

Amendment 782, which became effective on November 1, 2014, revised the guidelines

applicable to drug-trafficking offenses by reducing the offense levels assigned to the drug

and chemical quantities described in guidelines 2D1.1 and 2D1.11. See U.S. Sentencing

Guidelines Manual app. C, amend. 782 (2014). Amendment 788, which also became

effective on November 1, 2014, identified Amendment 782 as retroactive.           See id.,

amend. 788.




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       Other than substituting Amendment 782 for the corresponding provision

applicable when the defendant was originally sentenced, the court “shall leave all other

guideline application decisions unaffected.” See U.S. Sentencing Guidelines Manual §

1B1.10(b)(1) (2014). The court “shall not” reduce a defendant’s term of imprisonment

to a term “less than the minimum of the amended guideline range,” nor to a term “less

than the term of imprisonment the defendant has already served.” Id. § 1B1.10(b)(2)(A),

(C). 1 In addition, the commentary to guideline 1B1.10 provides that a court must also

consider the § 3553(a) sentencing factors and the danger to the public created by any

reduction in a defendant’s sentence. See id. cmt. n.1(B). A court may further consider a

defendant’s post-sentencing conduct. See id.

II.    Factual Background

       By judgment dated November 21, 2011, this court sentenced the defendant to a

term of imprisonment of 78 months as to Counts One (conspiracy to manufacture

methamphetamine) and Two (conspiracy to distribute and possess with the intent to

distribute methamphetamine), with such terms to be served concurrently for a net

sentence of 78 months. The defendant’s guideline range was 87 to 108 months (total

offense level 27, criminal history category III), and the statutes of conviction carried a

mandatory minimum sentence of 60 months. Prior to sentencing, the United States filed

a motion for downward departure pursuant to U.S.S.G. § 5K1.1 which the court granted

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          Guideline 1B1.10 provides one exception to the rule that a defendant may not receive a
sentence below the amended guideline range—namely, if the defendant originally received a
below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
assistance to authorities.” Id. § 1B1.10(b)(2)(B). That is the case here.
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in imposing the 78-month sentence, a reduction of 10 percent from the bottom of the

guideline range.      According to the Bureau of Prisons, the defendant is presently

scheduled for release on December 31, 2015.

III.   Analysis

       Applying Amendment 782, the defendant’s new guideline range is 70 to 87

months, based on a total offense level of 25 and a criminal history category of III. Thus,

the defendant was originally sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission.

       The court has considered the filings in this case, along with the relevant 3553(a)

factors. Additionally, the court has considered the danger to the public as the result of

any reduction in the defendant’s sentence, the seriousness of the defendant’s offense, the

defendant’s post-sentencing conduct, and the need to protect the public. See id. § 1B1.10

cmt. n.1(B)(ii). Having done so, the court finds that the defendant should be granted a

sentence reduction.

IV.    Conclusion

       For the reasons stated herein, the defendant’s motion [doc. 462] is GRANTED.

The defendant’s term of imprisonment is reduced to 63 months, which is a corresponding

10 percent substantial assistance reduction from the bottom of his new guideline range.

If this sentence is less than the amount of time the defendant has already served, the

sentence shall instead be reduced to “time served.” See id. § 1B1.10(b)(2)(C).




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       Except as provided above, all provisions of the judgment dated November 21,

2011, shall remain in effect. The effective date of this order is November 2, 2015. See

id. § 1B1.10(e)(1).

              IT IS SO ORDERED.

                                                     ENTER:



                                                            s/ Leon Jordan
                                                      United States District Judge




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